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CNIL COURT OF TFIE CITY OF NGW YORK
COUNTY OF NEW YORK
------------------------------ X
MARINERS COVE S[TE B ASSOCIATES,                                             L&T Index No.63974/11

                                        Petitio~~er,
                                                                             NOTICE OF MOTION
          -against-

DR. STEVEN GREER
200 RECTOR PLACE 35F
NGW YORK, NEW YORK 10280

             Respondent
------------------------- X

                     PLEASE TAKE NOTICT, that upon the annexed affirmation of Deborah

Riegel, dated September 19, 2016, The annexed affirmation of Jeffrey BodoCf, daCed Sep[e~nber

15, 2016, the etihibits annexed thereto, and upon aII prior papers and proceedings hereCofore had

herein, petitioner will move this Court, Part F, at the Courthouse located at I I I Centre Street.

Room 830. Ne~v York, New York, on October 24, 2016, at 9:30 a.m., or as soon thereafter as

counsel tnay be heard, for an Order.

                    i.       Determining that petitioner is the prevailing party in this proceeding:

                   ii.       Entering a moneyjudgment in favor of petitioner and against Dr. Steven
                             Greer ("Tenant') for the attorneys' fees, costs and disbursements incw•red by
                             Landlord herein in the amow~t of$106,786.30, plus interest; or, in the
                             alternative

                  iii.       Setting this matter down for a hearing to determine peTitioner's attorneys'
                             fees, costs and disbursements that it may recover from Tenant.

                  iv.        Pursuant to CPLR 2606, directing the Commissioner of Finance to release and
                             pay to peCiTioner Mariners Cove Sire B Associates the $44,13 .00 deposited,
                             plus accrued interest, Tess lawful fees, and mail said funds to Mariners Cove
                             Site B Associates c/o Rosenberg & Estis, P.C., 733 Third Ave~~ue, New York,
                             NY 10017. Amy: Deborah Riegel; and

                             For such other and further relief as this Court deems appropriate.




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                    PLEASE TAKE I'URTHER NOTICE that pursuant Co CPLR 22]4(b),

 answering papers, if any, are to be served at least seven(7) days before the return date of the

 motion.

 Dated:      New York, New York                           ROSLNBERG & ESTIS, P.C.
             September 19, 201 h                          Attorneysfor Petitioner


                                                          By:
                                                                  eborah Riegel
                                                          733 Third Avenue
                                                          New York, New York 10017
                                                          (212)867-6000


TO:          STEVEN GRGER,I✓ro se
             5206 Sabine Hall
             New Albany, Olio




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                           ~~~~
                     AFFIRMATION
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 CIVIL COURT OF 'I"HE CITY OF NEW YORK
 COUNTY OF NEW YORK
 ----         ---------                --- X
 MARINERS COVE SITE B ASSOCIATES,                                       L&T Index No. 63974/14

                                   Petitioner,
                                                                    AFFIRMATION IN SUPPORT
           -against-                                                    OF MOTION FOR
                                                                    ATTORNEYS' FEES AND FOR
 DR. STEVEN GREER                                                    THE DISBURSEMENT OF
 200 RECTOR PLACE 35F                                                FUNDS PAID INTO COURT
 NEW YOKK, NEW YORK 10280

                                 Respondent
 -----                     --- - --                         —   X

           DEBORAH RIEGGL, an attorney duly admitted to practice law before the Courts of the

 State of New York, hereby affirms under- penalty of perjury, as follows:

                    I am a member of the law firm Rosenberg & Estis, P.C., attorneys for petitioner-

 landlord, Mariners Cove Site B Associates ("Landlord"), and as such, I am familiar with the facts

 and circumstances set forth herein.

          2.        I submit this affirniation in support of Landlord's moCion for an Order:

                            i.     DeCennining that Landlord is the prevailing party in this
                                   proceeding;

                           ii.     Entering a moneyjudgmeizt iii favor of Landlord and against Dr.
                                   Steven Greer ("Tenant') for the attorneys' fees, costs and
                                   disbursements incurred by Landlord herein in the amount of
                                   $106,786.30, plus interest; or, in the alternative

                          iii.    Setting this matter down for a hearing to determine Landlord's
                                  attorneys' fees, costs and disbursements that it may recover frown
                                  Tenant;

                          iv.     Pursuant to CPLR 2606, directing the Commissioner of Finance to
                                  release and pay to petitioner Mariners Cove Site B Associates the
                                  $44,135.00 deposited, plus accrued interest, less lawful fees, and
                                  mail said funds to Mariners Cove Site B Associates c/o Rosenberg
                                  & Estis, P.C., 733 Third Avenue, New York, NY 10017, Attn:
                                  Deborah Riegel; and



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                          v.        For such other and turCher relief as this Court deems appropriate.

                                      PRELID'IINAKY STATEMENT

                     By four Orders and Decisions, each dated January 28, 2016 (the "Final Orders';

  Exlvbit A), this Court detzied three ofTenanYs motions and granted Landlords' motion to strike

  and ordered the entry of ajud~,nnent of possession and a money judgment in the amount of

  $44,135.00 (tl~e "Judgment'; Exhibit B)in Favor of Landlord acid against Tenant.

           4.       Tenant's subsequent motions for a stay of his eviction pending appeal and/or for

  relief from the Final Orders were all denied and Respondent was evicted from the Premises on or

  about April 8, 2016. The various appellate orders, as well as those of the United States District

 Court for the Southern District of New York and the United States Court of Appeals for the

 Second Circuit are annexed hereto as Exhibits D, E, G, I, and J.

                    Based upon the foregoing, Landlord is unquestionably the prevailing party in this

 proceeding. Landlord's instant motion for attorneys' fees and costs is based upon sectio~ts

 15(C)(2) and 17(E) of the subject lease, which give Landlord t]~e right to obtain and collect its

 attorneys' fees and costs in connection with the Tenant's failure to vacate the Premises following

 the expiration of the term oPthe subject lease (Che `Lease"; Exhibit F).

          6.       As set forth herein, Landlord obtained all of the relief it sought by its petition (i.e.

a jud~,nnent of possession, warrant of eviction, and money judgment for use and occupancy)

while Tenants affirmative defenses and counterclaims were all summarily dismissed.

                   What follows below (in additional to the hefty size of the Court file) demonstrates

that the fees in Chis proceeding were necessary and reasonable in light of Tenant's voluminous,

rambling, disorganized, legally-incon•ect, and typo-ridden court filings, each of which Landlord

was required to respond to.




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            8.        Landlord also seeks an order puz~suant to CPLR 2606 directing the Department of

  Finance to release and pay the $44,135.00 paid into Court by Tenant for the purpose of paying

  the $44,135.00 money jud~nent issued by the Court in this proeeedin~ to Lan<tlord.

            9.       Accordingly, Landlord's motion should be granted in its entirety.

                                           RELEVANT FACTS

            10.      Landlord is the owner and landlord of 200 Rector Place, New York, New York,

  Apartment 35F (the "Premises").

            IL       Tenants Lease for the Premises expired on April 30, 2014 and Tenant held over,

 thereafter, without Landlord's consent.

 The Icistant Proceeding

           12.      The instant proceeding was commenced by service of a Notice ofPetition and

 Petition (the "Petition'') and was returnable on May 14, 2014.

           ]3.      Landlord's counsel at the commencement of the case was the Abramson Law

 Group PLLC.

           14.      Issue was joined by service of Tenant's answer on or about May 28, 20]4.

Tenant twice amended his answer prior to the return date on June 2,5, 2014.

           15.      Landlord thereafter moved for suimnaryjud~,~nent, which motion was initially

returnable on August 7, 2014. Tenant cross-moved to dismiss die Petition.

          16.       On November ]3, 2014, the Housing Court heard azgument nn the then-pending

motion for summary jud~nent and Tenant's cross-motion to dismiss.

          17.      By Decision and Order dated March 13, 2015("March, 2015 Order"; Exhibit F),

the Housing Court(Hahn, J.) granted Landlord's summary jud~nent in part, finding that:

                                  The Premises is an unregulated condominium apartment;

                                  Tenants lease expired on April 30, 2014;

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                            iii.   Landlord has standing to maintain this proceeding;

                            iv.    Tenant was required to pay to Landlord use and occupancy;

                             v.    Tenant's third affirmative defense was stricken;

                            vi.    Tenant's fourth affirmative defense was stricken;

                           vii.    Tenant's first counterclaim was stricken:

                           viii.   Tenant's second counterclaim was stricken [Note —due to a typo,

                                   Tenant did not plead a third counterclaim];

                            ix.    Tenant's fifth counterclaim was stricken;

                             x.    Tenant's sixth counterclaim was stricken;

                            xi.    Tenant's seventh cowiterclaim was stricken;

                           xii.    Tenant's eighth counterclaim was stricken.

See March, 2015 Order; Exhibit F.

          18.      `the only portion of Landlord' summary jud~nnent motion which was denied was

Landlord's request to dismiss Tenant's first and second aftinnative defenses and Tenant's fourth

counterclaim. Id.

          19.      Judge Hahn further denied Tenant's motion to dismiss this proceeding in its

entirety and ordered Tenant to tender use and occupancy on or before April 10, 2015, in the

amount of $44,135.00, for the period from April, 2014 through March, 2015, and to tender use

and occupancy("U&O")pendente life through a trial decision, al] at the last lease rate. Id.

         20.       Tenant failed to comply with Judge Hattn's order to pay the X44,135.00 by April

10, 2015, or any time before the Jud~nent was issued.




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             21.       On or around April 17, 2015, Landlord filed a motion pursuant to the RPAPL §

     745 to strike Tenants answer and for a judgment oFpossession for Tenant's failure to pay the

    $44,135.00 pursuant to the March, 2015 Order (the `'Motion to Strike").

             22.       At that time, not only had Tenant failed to pay the $40.,135.00, but he had also

    fai]ed to tender monthly U&O that Judge Hahn also ordered.

             23.      Tenant thereafter filed three frivolous motions, to wit: (i) Por discovery on June

    17, 2015;(ii) to amend his answer on June 19, 2015; and (iii) Co dismiss, on August 7, 2015.

            24.       Landlord was forced to respond to each of these motions, none of which were

    grinted.

            25.       On or around August 5, 2015, one day after Tenant commenced a federal action

    against Landlord, Rosenberg & Lstis was retained as counsel in this proceeding and in the

    federal action.

            26.       Afrer a series of adjournments, Judge Wendt recused himself and the parties

    appeared before Judge Milin on August 10, 2015 for argument on the Motion to Strike, as well

    as on Tenant's three motions.

            27.       Pursuant to the Final Orders, judge Milin granted tl~e Motion to Strike, granted

    Landlord the Judgment, and denied Tenants (i) motion for leave to conduct discovery; (ii)

    motion to amend his answer; and (iii) motion to dismiss on t]ie ground thaC Landlord lacks

standing. See Exhibits A and B.

           28.      On or around February 5, 2016, Tenant filed a motion for reargument of the

Motion to Sh~ike (the "Reargument Motion").




~      The federal action is discussed in more detail below.


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           29.       By order dated February 1 ], 2016(Exhibit C), Judge Milin denied Tenant's

 Reargument Motion, stating that "there is no dispute or legal justification to excuse: the fact that

 respondent has failed to pay use and occupancy as directed by the order of the Civil Court dated

 March 13. 2015."

           30.       On or around February 23, 2016, Tenant moved the Appellate Tem1 for an order

 staying the enforcement of the Jud~,nnent pending the determination of the appeal.

           31.      By Order dated March 15, 2016, the Appellate Term denied Tenant's motion to

 stay tl~e Final Orders and Judgtttent pending Tenant's appeal (the "A}~pellate Tenn Order";

 Exhibit D).

           32.      On oc around March 23, 2016, Tenant filed a motion with the Appellate Division

 First Department ("First Departmenf')for a stay of the Final Orders and Judgment pending an

 appeal of the Appellate Term Order. Tenant's request for an interim stay was denied.

          33.       On April 8, 2016, New York City Marshal Robert Renzulli executed the warrant

of eviction issued by this Court against Tenant.

          34.       By an order dated June 9, 2016, the First Department, Hons. Peter Tom, Rolando

T. Acosta, Rosalyn H. Richter, Sallie Manzanet-Dan]e1s, and Ellen Gesmer presiding, denied

Tenant's motion for leave to appeal the Appellate Term Order (Exhibit E).

          35.      Pursuant to a court filing in the federal action described below on August 2, 2016,

Tenant currently resides at 5206 Sabine Hall, New Albany, Ohio.

         'the Federal Action

          36.      At this time, Landlord is not seeking reimbursement for its legal Fees and costs

related to the Federal Action (defined below), although it reserves the right to do so. I-lowever,

information concerning the Federal Action is set forth herein for two reasons. First, the

information helps explain to the Court certain redactions in the billing. Second, Landlord wanted

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 to bring to this Court's attention Tenant's frivolous, wasteful, and harassing litigation tactics,

 waste ofjudicial resources, and lack of respect for judicial authority.

           37.       On August 4, 2015, Tenant filed an action in the United States District Court for

 Che Southern District of New York ("District Court"), captioned as Steven E. Greer v. Defzixis

 Mehied, the Battery Park City Azrthority, et al., Case No. 15-CV-06]19-AJN (the "Federal

 Action")for essentially the same relief sought in this Proceeding.

          38.       Simultaneously upon commencing the Federal Action, Tenant filed a motion to

 stay this proceeding with the District Court.

          39.       By a twenty-two page memorandum and order dated February 24, 2016 (`Federal

 Order"; Exhibit G hereto), issued after the Jud~,~nent was issued and with knowledge of its entry,

 United States District Judge Alison Nathan denied Tenant's motion for a stay, finding that dtere

 would not be any ineparabte harm.

          40.       On March 1 h, 2016, Tenant filed a motion for reconsideration of the Federal

Order in the Federal Action.

          41.       By Order dated March 21, 2016(Exhibit H), judge Nathan denied Tenant's

motion for reconsideration.

          42.       On March 21, 2016, Tenant filed a Notice of Appeal in the District Court.

          43.       On March 23, 2016, Tenant filed a motion for a stay of the Jud~nnent pending an

appeal of tlae Federa] Order with the United States Court of Appeals for the Second Circuit

("Second Circuit').

         44.       By Order dated March 30, 2016 (Exhibit J), the Second Circuit denied Tenant's

application for a stay.




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The Monev Deposited into Court by Tenant

          45.      On or around Febniaty 22, 2016, Greer deposited $44,135.00 (the `'Funds") with

the Clerk of Uiis Court. The Funds were thereafter transferred to the NYC Commissioner of

Finance by this Court. See Exhibit K.

          46.      Landlord requested and thereafter obtained a Certificate of Deposit from the

Department of Finance certifying that the Commissioner of Finance holds, subject to order of the

Court„ $44,135.00, plus interest, less an Investment Fee. A copy of tl~e Certificate of Deposit is

annexed hereto as Exhibit L. A copy of Landlord's application to obtain a Certificate of Deposit

is annexed hereto as Exhibit M.

         47.       Notwithstanding that Landlord does not have possession of the deposited funds,

Tenant has stated in three separate affidavits and/or affirmations filed wiCh the Appellate Tenn,

the First Department, and the Second Circuit, that the Judgment is paid in full. Therefore,

Landlord can only presume that Tenant believed he was paying the Judbnnent in full when

depositing the Funds with the Court and that he has no objection to its release to Landlord.

         48.       I~~ his February 23, 2016 affidavit ixi support of his application for a stay to the

Appellate Term (Exhibit M at ¶¶ 30 and 61), Greer stated:

                          30. 2016, February 22nd -Tenant-Aonellant paid
                          in full the $44,135 money jud~nent to the clerk in
                          room 225 of 1 1 I Centre Street (Exhibit A).




                          61. Greer has been a peaceful, law-abiding, rent-
                          paying, tenant for 14-years in his apartment. He
                          owes no money to Peritioner... (emphasis supplied)

         49.      In his March 2 t, 2016, affidavit in support of his application for a stay to the First

Department (Exhibit N at ¶¶ 27 and 38), Greer stated:



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                              27. 2016, FeUruary 22nd- Tenant-Appellant paid in
                              htll the $44.]35 money iudQment to the clerk in
                              room 225 of 111 Centre Street (Exhibit H).



                              38. When .fudge Milin superseded tl~e previous
                              decision by Judge Hahn, which had ~~anted Greer a
                              housing court trial of the viable issue of violation of
                              the RPL § 223-b anti-retaliatory eviction law, and
                              removed Greer's fight to a trial, her decision was
                              apparently based solely on the rationale that Greer
                              had failed to pay the $44,135 portion of the Hahn
                              decision. That entire amount of $44,135 is now paid
                              in full.(emphasis supplied)

           50.       Furthermore, in ahand-written form submitted to the First Department titled

"Summary Statement nn Application for Expedited Service and/or Interim Relief' fornl (Exhibit

    N at page 4), Tenant writes: "Please take notice that Greer owes no money to landlord..."

           51.      In his March 24, 2016 affinnationZ in support of his application for a stay of the

Judgment to the Second Circuit (Exhibit O at pp. 5 and 14), Greer stated:

                             A housing court arcler for X44,135 was paid, and
                             ongoing "fair use" rent of 53,395 is being paid on
                             time.



                             Meanwhile, Greer owes no money to the landlord
                             defendants, and by him staying in his apartment, no
                             harm will be done to the landlord. (emphasis
                             supplied)

          52.       As set forth above in statements made by Tenant to the Appellate Tema, First

Department, and Second Circuit, Tenant deposited the Funds in order to satisfy the Judgment and

believes the Judgtrtent to be already satisfied.




2     Tenant is no[ an attorney; presumably Tenant filed an affirn~ation rlthcr than an affidavit in error.


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                                                ARGUMENT

                                                      POINT I

              LANDLORD IS ENTITLED TO AN AWARD OF ATTORNEYS'FEES

                           (i)     Attorneys' tees Provisions Are enforceable

          53.       Lease provisions which allow for the recovery of attorneys' fees are valid and

 enforceable. See, e.g., Cier Inctz~s. Co. v Hessen, 136 AD2d 145, 149(lst Dept 1988).

          54.       Where an appeal is taken, the prevailing pasty tray recover Yl~e attorneys' fees and

 expenses incurred on appeal. See, e.~. Senfeld v1.S.T.A. Holding Co., Inc., 235 AD2d 345 (1st

 Dept 1997).

                           (ii)    The Lease Provides that Tenant Is Liable for Landlord's
                                   Attorneys' Fees for this Proceeding

          55.       Pursuant to section 15(0)(2) of tl~e Lease (ExhibiC E), if the "Lease is ended by

Owner3 because of a default, or if Tenant fails to give the Apartment back to Owner when the

Lease Term is over", Tenant is liable for'"Owner's expenses for attorney's fees, in order to get

the Apartment back from Tenant."

          56.       Pursuant to section 17(E) of tl~e Lease,"Tenant must reimburse Owner for any of

the following fees and expenses Incurred by Owner":

                           Any legal fees and disbursements incurred by
                           Owner or on Owner's behalf for i) required legal
                           notices given either under this Lease or required by
                           law; ii) legal actions or proceedines brought by
                           Owner aeainst Tenant relating to this Lease or the
                           Apartment, (including, but not limited to a lease
                           default by Tenant, failure to move out on time or
                           failure to timel~pav Rent); and/or iii) for defending
                           lawsuits whether brought by Tenant against Owner
                           relating to this Lease or Tenant's occupancy of the
                           Apartment, or by any other person against Owner


3   Landlord is referred to as "Owner'in the Lease.


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                          because of the actions of Tenant or ~~ersons who
                          live with, visit or work for Tenant.



                          Owner's right to legal fees in a lawsuit is
                          conditioned upon whether Owner has substantially
                          prevailed in that lawsuit. `Substantially Prevail' for
                          the purposes of determining entitlement to legal
                          fees, (where money is tl~e primary issue in dispute)
                          will be considered as having been awarded an
                          amount by a court equal to at least 80% of the
                          amount sought in the initial demand for a liquidated
                          amount in the litigation... (emphasis supplied)

                          (iii)   Tenant Is Liable for Landlord's Attorneys' Fees for this
                                  Proceeding Pursuant to Section 15(C)(2) and 17(E) of the
                                  Lease and Landlord Is the Prevailing Party, in this Proceeding

          57.      Pursuant to section 15(C)(2) of the Lease, Tenant is liable for Landlord's

attorneys' fees required to obtain possession of the Premises from Tenant. Despite the expiration

of Tenant's Lease on April 30, 2014, Tenant refused to vacate nn that date. Landlord was

required to commence the instant summary holdover proceeding to obtain ajudgment of

possession against Tenant in order to regain possession of the Premises. Landlord only regained

possession of the Premises on April 8, 2016 when New York City Marshal Robert Renzulli

executed the warrant oP eviction issued by this Court against Tenant. Accordingly, pursuant Co

section 15(C)(2) of the Lease, Tenant is liable to Landlord for ali attorneys' fees and costs

related to and including the commencement and litigation of this proceeding through April 8,

2016, all of which were required to regain possession of the Premises.

         58.      Section 17(E) of the Lease has an even broader attorneys' fee provision than

section I5. Under 17(E), Tenant is liable for the cost of all notices given under the Lease and all

litigation related to this Lease and/or the Premises, provided that Landlord is the substantially

prevailing party.



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           Sy.       This Court has previously stated that "[a] deYer~~lination oi'which panty is the

  prevailing party requires an initial consideration of tl~e tine scope of the dispute litigated,

  followed by analysis of what was achieved within that scope." Jocar~ Realty Co. v Galas, t 76

  Misc 2d 534, 535-36(NY County Civ Ct 1998)(cititag Excelsior• 57th Carp, v. Winters, 227

  A.D.2d 146, 147 (t st Dept 1996)).

           60.       Here, Landlord sought (other than attorneys' fees):(a) a judgment of possession;

 (b) a waiY•ant of eviction; and (e) an award of use and occupancy.

           61.      The Final Orders granted Landlord each and every item of relief sought by

 Landlord. Furthermore, Tenant did not prevail on any of his af~imative defenses and

 cotmterclaims, all of which were dismissed by the Final Orders.

          Ci2.      Based on the foregoing, it cannot be reasonaUly disputed that Landlord is the

 prevailing party, since it received all of the relief it sought, while Tenant received none of the

 relief it sought.

                           (iv)    Rosenberg Sc Estis, P.C. Billing Detlils

          63.      "I'he invoices submitted by Rosenberg & Estis, P.C.(`R&E") accurately reflect

the time that I and other attorneys and staff members of this firnl spent litigating this case from

 August, 2014 through April, 2016 (`Invoices"; Exhibit Q). 'The Invoices are col]ectively

annexed hereto 1s Exhibit P.

         64.       The full names, positions, and hourly rates of the people who appelr on the

Invoices are set forth in the chart below:

ABBREVIATION                 FULL NAME                 POSITION                  HOURLY RATE
IN INVOICES
DER                          Deborah E. Riege]          Member                   $540.00(2015)
                                                                                 $570.00(2016)
JRK                          Joshua R. Ko elowitz      Member                    $430.00(2016
IDT                          Isaac Tilton              Associate Attorney        $265.00(2015


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                                                                            _   $300.00(2016)
  ERC      __                 Gthan R. Cohen           Associate Attorney       $290.00(20]6
  IP                          Ilya Proko ets           Associate Attorne        $230.00(2016
  DN                          Dennise Navarro          Le al Assistant          $180.00(2016
  DCH                         Devorah C. Hirsch        Le gal Assistant         $]30.00(201 h)
  CFJ                         Cardell F. Jones         Legal Assistant          $180.00(2016)


          (5.       Invoices are generated by the following process: each individual timekeeper,

  whether attorney or paralegal, records his/her time on a daily basis by inputti~~g same into a

 sofrware program available on each attorney or paralegal's computer. Once the month ends,

 R&E's accounting department creates a Uilling worksheet, which contains every entry billed on

 the matter. As the member of the 4irm overseeing this maCter, I }personally review tt~e billing

 worksheet, make any necessary corrections and approve it for submission to the client (here, the

 petitioner).

          66.       It is R&E's regular business practice to make such billing records, which are

 maintained in the regular course of business.

          67.      The invoices a~uiesed as Exhibit Q were created by the process set forth above in

the regular course of R&E's business.

          6S.      The Invoices total $34,566.68. A chart setting forth the date ot~eaclt Invoice and

the total billed for each Invoice for this proceeding (work on the federal law suit was redacted) is

below:

                    Date of Invoice        Total Billed in this Proceedin
                          October 31, 2015                        $2,761.22
                        December 31, 2015                         X2,200.49
                         February 29, 2016                        $7,008.09
                            March 31, 2016                       $22,596.88
                                     Total                       $34,566.68 ,




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           69.        As set Forth in the affidavit of JefYrey Bodoff, The Abramson Law Group PLLC

(`ALG")legal fee invoices total $73,219.63. Accordingly, The total legal fees billed in this

 matter Ire $106,78C.30 ($72,219.62 in ALG fees + $,4,566.68 in R&E fees).

                            (v)      The R&E Legal Bitis Are Entirely Reasonable and Proper

           70.       The attorneys' fees and expenses sought herein are entirely reasonaUle and proper.

           71.       R&E is widely recognized as one of the pre-eminent New Yoi•k City law firms

 specializing in real estate and coimuercial litigation in the City of New York, providing expert

 representation in commercial and residential real estate transactions, litigation, administrative

 law proceedings Ind appeals.

           72.       I am a 1993 d~aduate of Brooklyn Law School. I have been licensed to practice in

 New York since 1994 and have concentrated since my admission in real esYlte litigation.

           73.       I joined R&E as an associate in May, 1994. I was named a member of R&E in

 October, 200Q I have tried numerous cases in this Court as well as in Supreme Court and hate

argued appeals at every love] in New York State. I am an adjunct professor at Brooklyn Law

School where I teach its only Landlord/Tenant Litigation course.

          74.        A copy of my professional biography is annexed hereto as Exhibit R.

          75.        Based on my experience, my Dourly rate is entirely reasonable.

          76.        Associate Isaac Tilton and I primarily handled this matter.

          77.       Mr. Tilton leas been licensed since February 2009. Mr. Tilton is a 2003 graduate

of Brooklyn Law School and has been employed by R&E since August 2015 after serving as an

associate at Itkowitz PLLC for six years, a firm that also specialized in real estate litigation. He

received his undergraduate education at Tufts University, from which he graduated with a B.A.

degree in 2000.

          78.       In addition, the following other attorneys participated in this litigation:

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                    • Member Joshua R. Kopelowitz has been admitted to practice since 2004. He is

                          licensed to practice in New York and focuses his practice on real estate

                          litigation. Mr. Kopelowitz went to Brooklyn Law School, graduating in 2003.

                          Mr. Kopelowitz joined R&E in 2007 as an associate and was rained a member

                          of the firm in 2013.

                    • Associate Ethan R. Cohen has been admitted to practice since 20]3. He is

                          licensed to practice in New York and focuses leis practice on real estate

                          litigation. Mr. Cohen went to University of Maryland School of Law,

                          graduating in 2012. Mr. Cohen joined R&E in 2014 as an associate.

                   • Associate Ilya Prokopets has been admitted to practice since 2014. F Ie is

                          licensed to practice in New York and focuses his practice on real estate

                          litigation. Mr. Prokopets went to New York Law School. Mr. Prokopets

                          joined R&~ in 2015 as an associate.

          79.       The rates charged by other attorneys and legal professionals at R&E vary by their

experience ]eve] and position, and are not only reasonable, but are fully in line with the market

rate for this type of litigation.

                             (vi)    The Amount of Work Performed on this Matter Was
                                     Necessary

          80.       One need not look any further than Tenant's Court filings, eadi unnecessarily

long, rambling, disorganized, legally-incorrect, and typo-ridden, to understand why litigating

against Tenant for two years necessarily occasioned the legal fees that Landlord paid to R&E and

ALG. Furthei~rnore, Tenant is incredibly litigious, having tiled numerous baseless motions in the

proceedings, all of which were denied. Even after the issuance of the Final Orders, Tenant

persisted with his scorched earth litigation tactics, having filed a motion to reargue the Final


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 Orders, a motion Por a stay of his eviction to both the Appellate Tenn and the First Department,

 not to mention the voluminous Federal Action, under which there has already been a Second

 Circuit decision in Landlord's favor denying a stay of the Judgment. The Invoices annexed

 hereto do not include the Federal Action, which taken together with this proceeding exposes

 Tenant's goal of litigating in every judicial forum possible, while simultaneously ignoring each

 Court's findings.

          H 1.      The Court will note that R&E and ALG substantially coordinated their

 representation such that once R&E was retained as co-counsel, substantially all of the work on

 this litigation was performed by RBcE without duplication by ALG.

                                               POINT TI

                     OWNER IS ENTITLED TO AN ORllER DIRECTING THE
                      PAYMENT OF THE FUNDS PREVIOUSLY PAID INTO
                       COURT BY TENANT TO SATISFY THE JUDGMENT

          82.       CPLR 2606, entitled "Obtaining Order for Pa}nnents out of Court," provides:

                          "Unless otlierwisc directed by the judgment or order
                          under which the property was paid into court, an
                          order for the payment of property out of court shall
                          be made only:

                           1.     on motion with notice to all parties who
                           have appeared or f71ed a notice of claim to such
                           property."

          33.      "CPLR 2606 establishes the procedure for oUtaining a court order for the payment

out of couirt of property that was paid into court." Weinstein-Korn-Miller, NY Civ. Prac. ¶

2606.00(2d ed). "Unless the juddvent or order under which the money was originally paid into

court specifically states otherwise ... a party seeking payment out of court must obtain a court

order as prescribed by CPLR 2(06." Icl.

         84.       CPLR 2606 further provides that the application:



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                            shall he accompanied by a copy of thejudgment, order or
                            other paper under which the property was paid into court
                            together with a certificate of the county treasurer or other
                            depository of the property, showing the present condition
                            and amount thereof, and stating separately, in the case of
                            money, the amount of p~incipa] and interest.

            85.     As established above, Tenant deposited the Funds in order to satisfy the

    Judgment This is confirmed in two affidavits and an affu•mation tiled with the Appellate Tenv,

    First Department, and die Second Circuit. See Exhibits N, O, and P.

            36.     In conformance with CPI,R 2606, a copy of the Judg~ne~~t is annexed hereto as

    Exhibit B.

            87.     In accordance with CPLR 2606 and the procedures set forth on the NYC

    Department of Finance("NYCDP") Website°, Owner has obtained a Certificate of Deposit from

    NYCDF and annexed the Certificate oP Deposit and Application for a Certificate of Deposit

    hereto as, respectively, Exhibits L and M.

            8A.    The Funds were not deposited into Court as an Undertaking.

           89.     Accordingly, the Court should issue an order directing payment of the funds to

~W'I1CI'.

                                                CONCLUSION

                   For the foregoing reasons, Landlord's motion should be granted in its entirety,

together with such other and further relief as the Court deems appropriate.



Dated: September I ), 2016
       New York, New York                                                             ~

                                                           ~(~'1
                                                            DEBORAH RIEGEL


a     Avuilableulh[tps://wwwl.nyc.gov/site/finance sheriff-courts/courts-deposit-withdraw-court-funds.page


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                       BODOFF
                     AFFIRMATION
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  CNIL COURT OF THE CITY OF NEW YORK
  COUNTY OP NEW YORK
  ------------------------- X
  MAR[NERS COVE SITE B ASSOCIATES,                                         L&T Index No. 63974/14

                                       Petitioner,
                                                                      AFFIRMATION IN SUPPORT
             -against-                                                     OF MOTION FOR
                                                                      ATTORNEYS'FEES AND FOR
  DR. STEVEN GREEK                                                      THE DISBURSEMENT OF
  200 RECTOR PLACE 35F                                                 FUNDS PAID IN'CO COURT
  NEW YORK,NEW YORK 10280

              Respondent
 -------- ------------------ X

            JEFFREY BODOFF,an attorney duly admitted to practice ]aw befare the Courts of the

  State of New York, hereby affirnls under penalty of perjury, as follows:

                      [ am associated with the law firm "Che Abramson Law Group, PLLC("ALG"),

  attorneys for petitioner-landlord, Mariners Cove Site B Associates ("Landlord"), and as such, I

 am familiar with the facts and circumstances set forth herein.

            2. I submit This affirmation in support of Landlord's motion fc~r an Order:

                              Determining that Lanlord is the prevailing party in Yhis proceeding;

                              Entering a mone;yjudgment in favor of Landlord and against Dr. Steven
                              Greer (`'Tenant') for the attorneys' fees, costs and disbursements incurred
                              by Landlord herein in the amount of S 106,78630, plus interest; or, in the
                              alternative

                       iii.   Setting this matter down for a hearing to determine Landlord's attorneys'
                              fees, costs and disbursements that it may recover from Tenant;

                       iv.    Pursuant to CPLR 2606, directing the Commissioner of Finance to release
                              and pay to petitioner Mariners Cove Site B Associates the $44,135.00
                              deposited, plus accrued interest, less lawful fees, and mail said funds to
                              Mariners Cove Site B Associates c/o Rosenberg & Bstis, P.C., 733 Third
                              Avenue, New York, NY 10017, Attn: Deborah Riegel; and

                        v.    For such other and further relief as this Court deems appropriate.




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                                The Abramson Law Group Billing Details

           3.       I have carefully reviewed all of the factual statements in the Af'fii~ination of

 Deborah Riegel, dated September 19, 2016 submitted herewifll and I confine that they are true

 and accurate to the best of my knowledge.

          4.        I hereby adopt such statements as my own and incorporate them in khe instant

 affidavit as if fully set forth herein.

          5.        Tlie invoices submitted by ALG accurately reflect the ti~ve that I and ocher

 attorneys of ALG spent litigating this case 'from August, 2014 through April, 2016("ALG

 Invoices"). The ALU Invoices are collectively annexed hereto as Exhibit S.

          6.       I reviewed every line of the ALG Invoices and can confnn that these schedules

 accurately reflect the services rendered by me and by the other attorneys and staff members of

 ALG.

          7.       At ALG,invoices are generated by the following process: each individual

timekeeper captures his/her time on a daily basis by (i) inputting same into a software program

available on each attorney's computers or (ii) by writing daily time sheets which are thereafter

submitted to the billing department. On an ongoing basis, ALG's accounting department inputs

the time sheets into the software program. Once the month ends, ALG's accounting department

creates a billing worksheet, which contains every entry billed on the matter. As the attorney

overseeing this matter, I personally review the billing worksheet, make any necessary corrections

and approve it for submission to the client (here, Landlord).

         8.        It is ALG 's regular business practice to make such billing records, which are

»Zaintained in the regular course of business.

         9.       The ALG Invoices were created by the process set forth above in the regular

course of ALG's business.

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           10.       Moreover, the expenses detailed in Che ALG Invoices reflect my ftnn's actual

 costs in connection wiUi the instant litigation.

           11.       The ALG Invoices total $75,219.62. A chart setting forth the date of each ALG

 Invoice and the total billed for each ALG Invoice For this proceeding(work oi~ a related non-

 payment and federa] law suit were redacted) is below:

                     Date of ALG Invoice      Total Bitted in this Proceedin
                                June J, 2014                          $2,294.67
                                July 3, 2014                          X2,575.90
                             Au >ust 4, 2014                        ~ 17,691.21
                         Se tember 8, 20]4                            $7,607.50
                           October 20, 2014                           $2,036.50
                          November 4, 2014                            $3,124.50
                          December 5, 2014                           $3,640.00
                            January 6, 2015                               597.50
                           February I, 2015                             5260.00
                              March 6, 2015                             5227.50
                               A ril 8, 2015                            ,x,346.50
                                May 5, 2015                         $14,450.50
                               June 4, 2015                          $2,<)39.33
                                July G, 2015                        ~ 12,285.00
                             Au ust 5, 2015                              $98.57
                         September 4, 2015                           51,625.00
                            October 6, 2015                                $O.UO
                            January 8, 201 C>                            $32.50
                             March 4, 2016                             $690.00
                               A ril 6, 2016                           $147.00
                                       Total                        $72,219.62


                          The ALG Lesal Bills Are Entirely Reasonable and Proger

          12.      The attorneys' fees and expenses sought herein are entirely reasonable and proper.

ALG specializes in landlord tenant law and has a great deal of expertise in the area.

          13.      I graduated from Hofstra University School of Law in 1988 andjoined ALG as an

associate in March, 1990. I obtained a B.A. from Yeshiva University in 1985. I hold the title of



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  Director of La~tdlord &Tenant Litigation at ALG. I frequently appear in Supreme and Housing

  Court, and in the Appellate Courts of New York State. My primary area of expertise is landlard-

 tenant and real estate litigation.

           14.       A copy of my resume is annexed hereto as Exhibit T.

           15.       Based on my experience, my hourly rate of$325.00 is entirely reasonable.

           16.      The vast majority of the billing in the ALG Invoices is attributable to "JB", which

 arc my initials. There is also work under the initials ASG and DSA.

           1 Z.     DSA stands for David Abramson, an attorney admitted in the state of New York

 since 198]. David Abramson is the founder of ALG. David is a "Preeminent AV" rated lawyer

 and is known in the legal community as an extremely creative, practical litigator and deal maker.

 David is a well recognized expert in real estate litigation including Landlord and Tenant matters.

 David has significant experience at the bar as trial and appellate counsel. Based on my

 experience, Mr. Abramson hourly rate of X395.00 is entirely reasonable.

          ]8.       ASG stands for Adam S. Goodman, an attorney admitted in the state of New York

since 2014. Adam Goodman has been an associate with ALG since 2013. Adam received a B.S.

fi~om Cornell University in 2006, and received his J.D. from the Drexel University Thomas R.

Kline School of Law in 20]3. Adam specializes in civil litigation, primarily focusing on

Landlord and Tenant litigation, commercial, intellectual property and emplo}nnent litigation.

Adam regularly appears in Supreme and Housing Court. Based on my experience, Mr.

Goodman's hourly rate of $275.00 is entirely reasonable.




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           19.      The rntes chm•ged by other atNrncys and legal proJ.ession~ils fit t~LCi vary by their

 experience level and position, and arc not onl}~ re~ktionable, but fire fiilly iu line wide the market

 rate for this type of litigation.


 U~tcd: September l5 ; 2016
        iVew YOrI<, NC~v York



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